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                                                  U.S. Department of Justice

                                                    Office of the United States Trustee
                                                    Southern District of New York
                                                     201 Varick Street          Office:(212) 510-0500
                                                     Room 1006                  Fax: (212) 668-2255
                                                     New York, New York 10014

                                                      April 13, 2022

VIA ECF & EMAIL

Honorable Robert D. Drain
United States Bankruptcy Court for the
Southern District of New York
300 Quarropas Street
White Plains, NY 10601-4140


       Re:     96 Wythe Acquisition LLC,
               Case No. 21-22108 (RDD)

Dear Judge Drain:

On April 12, 2022, 96 Wythe Acquisition LLC (the “Debtor”) submitted a letter (the “April 12
Letter”) [ECF No. 503] to the Court ostensibly responding to the letter filed by Benefit Street
Partners Realty Operating Partnership, L.P. (“BSP”) [ECF No. 500] and to certain email
communications between BSP and the Chambers, but in essence litigating critical evidentiary
issues in connection with the U.S. Trustee’s motion to appoint a Chapter 11 trustee (the “U.S.
Trustee Motion”).

The U.S. Trustee respectfully submits that such “litigation by letter” practice is not permitted by
the Bankruptcy Code, Bankruptcy Rules, or Local Rules.

In substance, the April 12 Letter is a motion in limine, without the Debtor following the proper
procedures governing motion practice. Such practice is prejudicial to the U.S. Trustee and other
parties in interest and the Court should not consider the letter to be a motion.

The Debtor filed the April 12 Letter without a meet-and-confer with the U.S. Trustee and other
parties. The parties should try to resolve admissibility issues in good faith before bringing them
to the Court’s attention. See Local Rule 7007-1(b) (parties can request a court conference if
they were unsuccessful in resolving discovery issues).
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The parties are meeting tomorrow, April 14, 2022, and the U.S. Trustee is hopeful that the
parties can address the Debtor’s discovery concerns relating to the Examiner.

If the Court believes a status conference is useful to address these or any other issues, the United
States Trustee has no objection.

                                                      Respectfully,

                                                      WILLIAM K. HARRINGTON
                                                      UNITED STATES TRUSTEE

                                              By:     /s/ Greg M. Zipes
                                                      Greg M. Zipes
                                                      Trial Attorney


cc:    Douglas Spelfogel, Esq.
       Gary Freedman, Esq.
       Lee Hart, Esq.
       P. Bradley O’Neil, Esq.
